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                                                                                                 U.S. DISTRICT COURT
                                                                                                     N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

LAKEISHA CHESTNUT, et al.,                )
                                          )
       Plaintiffs,                        )
                                          )
       v.                                 )               Case No. 2:18-CV-00907-KOB
                                          )
JOHN H. MERRILL, in his official capacity )
as Alabama Secretary of State             )
                                          )
       Defendant.                         )


                                  MEMORANDUM OPINION

       This matter comes before the court on Defendant John Merrill’s “Motion for Judgment

on the Pleadings” pursuant to Federal Rule of Civil Procedure 12(c), filed on November 2, 2018.

(Doc. 27). In this motion, Defendant raised three grounds for judgment on the pleadings: (1)

jurisdiction lies with a three-judge court, (2) the complaint fails to demonstrate that a remedy

exists, and (3) the claims are barred by the doctrine of laches.

       On November 7, 2018, the court ordered the parties to brief all three issues raised in the

motion. (Doc. 30). Plaintiffs filed “Plaintiffs’ Brief in Opposition to Defendant’s Motion for

Judgment on the Pleadings” on November 30, 2018. (Doc. 31). On December 21, 2018,

Defendant filed “Secretary of State John Merrill’s Reply in Support of His Motion for Judgment

on the Pleadings (Doc. 27).” (Doc. 37).

       On January 16, 2019, the court held a hearing solely on the issue of whether jurisdiction

of this case lay with this court or with a three-judge panel. On January 28, 2019, the court

entered an Order denying Defendant’s motion for judgment on the pleadings as to the

jurisdictional issue. (Doc. 41). Because the court has jurisdiction, the case remains before this



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court. So, the remaining two grounds raised by Defendant in his motion for judgment on the

pleadings are now ripe for review.

    I. Background

       Plaintiffs are eight African-American citizens of Alabama. One Plaintiff resides in

Congressional District (“CD”) 1, one resides in CD 2, one resides in CD 3, and five reside in CD

7. The redistricting plan currently used in Alabama, Senate Bill 484, allegedly “packs” African-

American voters into CD 7. See S.B. 484, 2011 Reg. Sess. (Ala. 2011). The Alabama legislature

established CD 7 as a majority-minority district following the 1982 Amendments of the Voting

Rights Act. Nearly one-third of Alabama’s African-American population falls into CD 7. 1 Prior

to the passage of S.B. 484, the black voting age population (BVAP) of CD 7 under the 2002

redistricting plan was 58.33%. Now, the CD 7 BVAP is 60.91%.

       Plaintiffs argue that S.B. 484 redrew district lines to “move” African-American voters

from predominantly white districts into CD 7 to “pack” the district designated as a majority-

minority district with African-American voters. But the plan also allegedly “cracks” African-

American voters in CDs 1, 2, and 3 by splitting among three districts those African-American

voters who could be grouped together in a second majority-minority district. Plaintiffs contend

that the African-American population in these districts should be united to form a second

majority-minority CD.

       Plaintiffs raise a Section 2 violation of the Voting Rights Act, alleging vote dilution. The

Supreme Court identified three preconditions necessary to establish a vote dilution claim: (1) the

minority group “is sufficiently large and geographically compact to constitute a majority in the

single-member district,” (2) the minority group is “politically cohesive,” and (3) “the white

1
  Based on the facts provided, the court cannot determine whether the CD 7 under the 2011
redistricting plan is the same CD 7 as drawn following the 1982 Amendments.
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majority votes sufficiently as a bloc to enable it—in the absence of special circumstances, such

as the minority candidate running unopposed—usually to defeat the minority’s preferred

candidate.” Thornburg v. Gingles, 478 U.S. 30, 50–51 (1986) (internal citations omitted).

   II. Standard of Review

       Rule 12(c) of the Federal Rules of Civil Procedure allows a party to move for judgment

on the pleadings after the pleadings are closed, but early enough to not delay trial. See Fed. R.

Civ. P. 12(c). A judgment on the pleadings is appropriate “when there are no material facts in

dispute, and judgment may be rendered by considering the substance of the pleadings and any

judicially noticed facts.” Horsley v. Rivera, 292 F.3d 695, 700 (11th Cir. 2002). To determine

whether the movant is entitled to a judgment on the pleadings, the court should “accept as true all

material facts alleged in the non-moving party’s pleading, and . . . view those facts in the light

most favorable to the non-moving party.” Perez v. Wells Fargo N.A., 774 F.3d 1329, 1335 (11th

Cir. 2014).

       The court analyzes a Rule 12(c) motion for judgment on the pleadings the same way as a

Rule 12(b)(6) motion to dismiss for failure to state a claim upon which relief can be granted. See

Dial v. City of Bessemer, No. 2:14-cv-01297-RDP, 2016 WL 3054728, at *3 (N.D. Ala. May 31,

2016). (“A Rule 12(c) motion for judgment on the pleadings is analyzed the same as a Rule

12(b)(6) motion to dismiss.”). “A motion to dismiss and a motion for judgment on the pleadings

should not be granted unless ‘the plaintiff can prove no set of facts in support of his claim which

would entitle him to relief.” Losey v. Warden, 521 F. App’x 717, 719 (11th Cir. 2013) (quoting

Horsley v. Feldt, 304 F.3d 1225, 1131 (11th Cir. 2002)). So, “to survive a motion for judgment

on the pleadings, ‘a complaint must contain sufficient factual matter, accepted as true, to state a




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claim to relief that it plausible on its face.’” Id. (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009)).

        To be plausible on its face, the claim must contain enough facts that “allow[] the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556

U.S. at 678. Although “[t]he plausibility standard is not akin to a ‘probability requirement,’” the

complaint must demonstrate “more than a sheer possibility that a defendant has acted

unlawfully.” Id. “Where a complaint pleads facts that are merely consistent with a defendant’s

liability, it ‘stops short of the line between possibility and plausibility of entitlement to relief.’”

Id. (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 557 (2007)).

        The Supreme Court has identified “two working principles” for the district court to use in

applying the facial plausibility standard. The first principle is that, in evaluating motions to

dismiss, the court must assume the veracity of well-pleaded factual allegations; however, the

court does not have to accept as true legal conclusions even when “couched as . . . factual

allegation[s]” or “threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements.” Iqbal, 556 U.S. at 678. The second principle is that “only a complaint

that states a plausible claim for relief survives a motion to dismiss.” Id. at 679.

        Thus, under prong one, the court determines the factual allegations that are well-pleaded

and assumes their veracity, and then proceeds, under prong two, to determine the claim’s

plausibility given the well-pleaded facts. That task is “context-specific” and, to survive the

motion, the allegations must permit the court based on its “judicial experience and common

sense . . . to infer more than the mere possibility of misconduct.” Iqbal, 556 U.S. at 679. If the

court determines that well-pleaded facts, accepted as true, do not state a claim that is plausible,

the claim must be dismissed. Id.



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   III. Discussion

       Defendant raises two grounds why he is entitled to a judgment on the pleadings: first,

Plaintiffs failed to demonstrate the existence of a proper remedy; and second, Plaintiffs’ claims

are barred by the doctrine of laches. The court will discuss each argument in turn.

              a. Existence of a proper remedy

       Defendant argues that Plaintiffs fail to seek a proper remedy, which causes Plaintiffs to

lack standing. If a party cannot show that the injury can be redressed by the litigation, then the

party lacks standing. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992)

(identifying the three elements of standing: injury-in-fact, causality, and redressability).

       The Eleventh Circuit has held that a plaintiff must demonstrate a viable remedy to

properly allege a Section 2 violation of the Voting Rights Act. See Nipper v. Smith, 39 F.3d

1494, 1530–31 (11th Cir. 1994) (“A district court must determine as part of the Gingles

threshold inquiry whether it can fashion a permissible remedy in the particular context of the

challenged system.”). Specifically, where a plaintiff seeks redistricting to create a new majority-

minority district, the plaintiff must demonstrate that the “minority voters possess the potential to

elect representatives in the absence of the challenged structure or practice.” Thornburg, 478 U.S.

at 57 n.17.

       Plaintiffs alleged in the complaint that “[t]he African-American population in Alabama is

sufficiently numerous and geographically compact to form a majority of eligible voters—

meaning a majority of the voting age population—in two congressional districts.” (Doc. 14 at 2).

Specifically, they seek the adoption of a new congressional redistricting plan that adds a second

majority-minority district in Alabama. (Id. at 29–30).




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       Defendant argues that Plaintiffs offered these conclusory allegations without factual

support. But Plaintiffs support each assertion with statistical and anecdotal evidence. Plaintiffs

point out that CDs 1, 2, and 3 each have a heavily African-American area within a majority-

white district. (Doc. 14 at 12). Plaintiffs explain in their complaint how “African-American

voters in Alabama are politically cohesive and overwhelmingly support[] Democratic

candidates,” with several statistical examples from Alabama elections in the CDs at issue. (Id. at

13). In contrast, “[t]he white majority . . . overwhelmingly supports Republican candidates.”

(Id.). Defendant’s argument attacking the complaint as “conclusory” seems as though he has not

read past the first page of the complaint because the complaint as a whole contains the support

and explanation for the initial conclusory statements.

       Plaintiffs argue that Defendant conflates the requirements for pleading with the

requirements for proving. While Defendant is correct that Plaintiffs must eventually prove that a

new redistricting plan would resolve the alleged Section 2 violation, such proof is not necessary

at the pleading stage. Courts hesitate to require a plaintiff to prove the elements of a claim at the

motion to dismiss stage. “Asking for plausible grounds to infer [an element of a claim] does not

impose a probability requirement at the pleading stage; it simply calls for enough fact to raise a

reasonable expectation that discovery will reveal evidence of [the claim].” Twombly, 550 U.S. at

556. And “[i]t is no accident that most cases under section 2 have been decided on summary

judgment or after a verdict, and not on a motion to dismiss.” Metts v. Murphy, 363 F.3d 8, 11

(1st Cir. 2004) (holding that the district court was too quick to dismiss the case because “the

plaintiffs are entitled to an opportunity to develop evidence before the merits are resolved”).

       Defendant further argues that one unreported district court case indicates that a plaintiff

must submit a map presenting an alternative redistricting plan to satisfy the potential remedy



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requirement. See Broward Citizens for Fair Districts v. Broward Cty., No. 12-60317-CIV, 2012

WL 1110053, at *5 n.6 (N.D. Fla. Apr. 3, 2012) (“The Court agrees that this [failure to present

alternative maps] represents an additional pleading deficiency in Plaintiffs’ Amended

Complaint.”). But another district court specifically refused to follow Broward Citizens, noting

that in Broward Citizens “that court extended what is an evidentiary requirement for purposes of

summary judgment to the pleading stage of litigation.” Luna v. Cty. of Kern, No. 1:16-cv-00568-

DAD-JLT, 2016 WL 4679723, at *5 (E.D. Cal. Sept. 2, 2016). The District Court for the Eastern

District of California noted that “[f]orcing plaintiffs to develop an unobjectionable map, before

discovery even begins, would be putting the cart before the horse.” Id. This court agrees.

       To satisfy the pleading requirements, Plaintiffs only must allege with “enough fact to

raise a reasonable expectation that discovery will reveal evidence” that a second majority-

minority district exists. Twombly, 550 U.S. at 556. In Luna, the court found that such a district

plausibly existed when the plaintiffs alleged that the Latino population in Kern County grew

from 25% to 34%. Luna, 2016 WL 4679723, at *4. The court inferred from those statistics that

“a minority group compromising nearly one-third of the county’s total voting population could

comprise majorities in each of at least two county supervisorial districts.” Id.

       Likewise in our case, Plaintiffs allege that the three allegedly “cracked” CDs contain four

counties with large minority populations: Macon County in CD 3, 82.6% African-American

population; Mobile County in CD 1, 34.6% African-American population; Monroe County in

CD 1, 34.6% African-American population; and Montgomery County in CDs 2,3, and 7, 54.7%

African-American population. (Doc. 31 at 16). Plaintiffs also explain how the area known as the




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“Black Belt” 2 was specifically divided between the four CDs at issue in the complaint, packing

minorities into CD 7 and cracking CDs 1, 2, and 3. (Id.). From this division of the Black Belt, the

court can infer that a second majority-minority district could plausibly be formed.

       So, while Plaintiffs have not yet proven by presenting an alternative district map that an

alternative redistricting plan that resolves the alleged Section 2 violations definitely exists, they

have met the burden to plead Section 2 violations by showing that such a plan plausibly could

exist. Because such a plan plausibly exists, the court must deny Defendant’s motion for judgment

on the pleadings on the grounds of standing.

           b. Doctrine of laches

       Defendant also argues that Plaintiffs’ claim is barred by the doctrine of laches.

Specifically, Defendant contends that Plaintiffs’ claims first became available in June 2011 when

the redistricting plan was passed; that Plaintiffs had no excuse for delay because the 2010 Census

data upon which their claim is based was available since February 2011; and that the state of

Alabama would be prejudiced because a final decision (after appeal) would not be reached until

2019 or 2020, requiring a new redistricting plan to be drawn based on outdated census

information from 2010—and shortly before statewide redistricting using the 2020 Census—if

Plaintiffs succeed.

       Preliminarily, Plaintiffs contend that the doctrine of laches only applies in cases seeking

retrospective damages. See Peter Letterese & Assocs., Inc. v. World Inst. of Scientology Enters.,



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  The “Black Belt” is so named “because the soil in that region of the state is dark in color.
Additionally, during the period immediately following the Civil War, the majority population in
that area of the state was black.” Knight v. Alabama, 787 F. Supp. 1030, 1067 n.13 (N.D. Ala.
1991); see also Zachary L. Guyse, Note, Alabama’s Original Sin: Property Taxes, Racism, and
Constitutional Reform in Alabama, 65 Ala. L. Rev. 519, 532 (2013) (“The name ‘Black Belt’ is
primarily derived from the dark, rich layer of topsoil that runs across the width of roughly twelve
counties in central Alabama, which made the region extremely fertile for cotton farming.”).
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533 F.3d 1287, 1321 (11th Cir. 2008) (“[L]aches serves as a bar only to the recovery of

retrospective damages, not to prospective relief.”). Here Plaintiffs seek no retrospective

damages, solely prospective relief. But, as Defendant points out, redistricting challenges are

subject to the doctrine of laches because of the ten-year expiration date of electoral districts. See

Sanders v. Dooly Cty., 245 F.3d 1289, 1290–91 (11th Cir. 2001) (per curiam) (applying the

doctrine of laches to a voting rights case). Electoral districts expire every ten years because the

federal government conducts a new census every ten years, which the state then uses to create an

updated redistricting plan. See 2020 Census: What is the Census?, U.S. Census Bureau,

https://www.census.gov/programs-surveys/decennial-census/2020-census/about.html (last visited

Mar. 11, 2019).

        So, because the doctrine of laches can apply to redistricting cases, the court will address

the elements of the doctrine. The doctrine of laches requires three elements: “(1) a delay in

asserting a right or a claim; (2) that the delay was not excusable; and (3) that there was undue

prejudice to the party against whom the claim is asserted.” Venus Lines Agency Inc. v. CVG Int’l

Am., Inc., 234 F.3d 1225, 1230 (11th Cir. 2000) (quoting Kason Indus., Inc. v. Component

Hardware Grp., Inc., 120 F.3d 1199, 1203 (11th Cir. 1997)). Each element will be discussed in

turn.

               i. Delay in asserting a right or claim

        Defendant asserts that Plaintiffs delayed in challenging the redistricting plan because the

claim became available in June 2011, when Alabama’s redistricting plan went into effect, and

because the 2010 Census, which Plaintiffs use to support their arguments for redistricting, was

already available to Plaintiffs in June 2011. Further, Defendant contends that Plaintiffs did not




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challenge the past four elections in 2012, 2014, 2016, and 2016, but instead waited until just

before the government conducts the 2020 Census.

       Defendant suggests that, because Plaintiffs could have filed suit seven years prior, the

claim is inexcusably delayed. One court has found inexcusable delay when the challenged

redistricting plan was no longer the plan used. See White v. Daniel, 909 F.2d 99, 102–03 (4th

Cir. 1990) (finding that the plaintiffs delayed by challenging the 1981 plan—which was just a

continuation of the 1971 plan with no changes—when plaintiffs never challenged the 1971 plan

and waited until after the last election under the 1981 plan to file suit). A different court found

inexcusable delay when only one election under the challenged plan remained, and four elections

based on that plan had passed. See Fouts v. Harris, 88 F. Supp. 2d 1351, 1354 (S.D. Fla. 1999),

aff’d sub nom. Chandler v. Harris, 529 U.S. 1084 (2000).

       Nine of the Plaintiffs were registered voters in Alabama in June 2011. 3 Those nine

citizens delayed in bringing their case, but was the delay excusable? And Ms. Chestnut, the one

Plaintiff not residing in Alabama in June 2011, has been a registered voter in Alabama since

2016. (Doc. 31 at 23). Even though she did not live in Alabama when the redistricting plan first

came into effect, she has had two years to bring such a claim.

       But Plaintiffs also argue that the claim did not necessarily arise in 2011, which leads to

the second element of the doctrine of laches.

               ii. Delay was not excusable

       Delay is “measured from the time at which the plaintiff knows or should know she has a

provable claim.” Kason Indus., Inc., 120 F.3d at 1206. Plaintiffs argue that, at the time the 2011



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  While Plaintiffs do not allege that all nine of them were in fact registered to vote in June 2011,
the court presumes this to be true because Plaintiffs only argue that Ms. Chestnut could not have
brought her case any sooner because she did not live in Alabama until 2016. (Doc. 31 at 22).
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redistricting plan was passed, they were not immediately aware that their votes would be diluted.

Additionally, Ms. Chestnut, did not reside is Alabama until 2016, so she could not have sued

earlier.

           The Eleventh Circuit has recognized that “a plaintiff’s reasonable need to fully

investigate its claims” may excuse delay. Black Warrior Riverkeeper, Inc. v. U.S. Army Corps of

Eng’rs, 781 F.3d 1271, 1285 (11th Cir. 2015). But even if the nine Plaintiffs who were citizens

in 2011 did not realize their claim arose in June 2011, they were registered voters in Alabama for

the next three election cycles before bringing a claim. Plaintiffs suggest that Ms. Chestnut could

have reasonably taken until 2018 to investigate her claims, although they do not explain why the

other plaintiffs would be justified in a seven-year delay from the 2011 redistricting. And

Plaintiffs provide no demonstration of the steps taken to investigate the claim that would justify

the delay.

           As to Ms. Chestnut, one plaintiff’s delay does not necessarily prejudice others. For

example, a political party’s sophisticated knowledge of a state’s election laws and awareness of a

claim is not imputed to ordinary citizens Nader 2000 Primary Comm., Inc. v. Hechler, 112 F.

Supp. 2d, 575, 579 n.2 (S.D. W. Va. 2000). But our case does not involve one sophisticated

plaintiff’s greater knowledge being imputed to ordinary citizens. Instead, our case involves nine

citizens—who supposedly had been investigating their claims since they arose in June 2011—

joined by a new citizen, who then needed an additional two years after moving into the state to

join the other nine in bringing this claim. The court finds these excuses for the delay

unpersuasive.




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                iii. Defendant was prejudiced

        Defendant argues that the state of Alabama would be prejudiced because, if Plaintiffs

win, a new redistricting plan must be drawn using 2010 Census data merely a year or two before

the new 2020 Census; Defendant points to demographic shifts in Alabama since the 2010

Census, implying that the redistricting plan will have to change in 2021. (Doc. 27 at 18).

Defendant also contends that redistricting now would spend valuable state resources that could

otherwise be allocated to the 2021 redistricting plan, while noting that Alabama may lose a

congressional seat following the 2020 Census.

        In support, Defendant cites the U.S. District Court for the District of Massachusetts,

which held that forcing the state to redistrict when one election remained under the challenged

plan “would come at great cost and yield results that are at best uncertain, and at worst,

perverse.” MacGovern v. Connolly, 637 F. Supp. 111, 116 (D. Mass. 1986). But at the time of

that case, the 1985 Census was not yet complete, and the state was already in the process of

redistricting. The court noted, “Since the 1985 census may not be complete, an injunction at this

point could have the ironic effect of forcing a hasty reapportionment based on the already-

superseded 1975 state census . . . .” Id. In our case, redistricting will certainly be costly. But the

2010 Census still remains the most current data available as of today.

        Defendant also cites Fouts, in which the U.S. District Court for the Southern District of

Florida found that forcing the state to redistrict two years before the mandatory redistricting

would “result[] in voter confusion, instability, dislocation, and [a] financial and logistical burden

on the state.” Fouts, 88 F. Supp. 2d at 1354. But as noted by Plaintiffs, “redistricting to remedy a

§ 2 violation will always require the allocation of some voters to different districts.” (Doc. 31 at

30). Plaintiffs also point out that a court has previously ordered redistricting within two years of



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another redistricting. See Larios v. Cox, 300 F. Supp. 2d 1320 (N.D. Ga. 2004), aff’d, 542 U.S.

947 (2004) (finding that the 2002 reapportionment plan was unconstitutional, and ordering

redistricting in 2004). But the court notes that the plaintiffs in this case seek a new

reapportionment plan two years before the next scheduled reapportionment plan, while the

plaintiffs in Larios sought a new reapportionment plan two years after the last reapportionment

plan. So Larios does not provide support for Plaintiffs’ position.

       Further, Defendant cites Sanders in support of his argument that Plaintiffs’ delay

prejudiced him. In Sanders, voters in Dooly County, Georgia sued county officials, alleging that

the county commission and board of education districting plan contained racially gerrymandered

districts in violation of equal protection. 245 F.3d at 1290. The plaintiffs waited five years after

the plan was released to sue. Id. The Eleventh Circuit ruled that the U.S. District Court did not

abuse its discretion by ruling that the plaintiffs’ claims for injunctive relief were barred by

laches. Id. at 1291. But the Eleventh Circuit did not independently evaluate whether the delay

actually prejudiced the defendants. The district court concluded that the delay prejudiced the

defendants because (1) the back-to-back redistrictings would cause confusion and expense, and

(2) the census data available was “over 10 years old and thus unreliable.” Id. at 1290–91.

       But this case differs from Sanders. As Plaintiffs point out, the congressional redistricting

here would likely be less confusing than the localized county redistricting in Sanders.

Congressional races are better funded and highly publicized, so voters would be more aware of

which district they belong. (Doc. 31 at 30). And the 2010 Census data available here, while nine

years old, is more reliable than the 10 year old data in Sanders because the government has not

yet taken a new census. See 2020 Census: What is the Census?, U.S. Census Bureau,

https://www.census.gov/programs-surveys/decennial-census/2020-census/about.html (last visited



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Mar. 11, 2019) (explaining that the federal government took the first census in 1790 “and our

country has every 10 years since”).

        While the data available in this case is nine years old, it remains the most up-to-date

information available—until the government completes the 2020 Census. The U.S. District Court

for the Southern District of Florida held that ordering a state to redistrict in 1999 forced the state

to use the 1990 Census data, and “[s]uch old census figures have been recognized as unduly

prejudicial because they fail to provide a basis for ‘fair and accurate representation to the

citizens.’” Fouts, 88 F. Supp. 2d at 1354 (quoting White, 909 F.2d at 104). And while

congressional races are better funded and more highly publicized, the court remains unconvinced

that a more publicized election will necessarily educate voters on where the newly drawn district

lines lay. As noted by the Fourth Circuit, “two reapportionments within a short period of two

years would greatly prejudice the [state] and its citizens by creating instability and dislocation in

the electoral system and by imposing great financial and logistical burdens.” White, 909 F.2d at

104.

        The court finds that to force the state of Alabama to redistrict twice in two years—once

based on nine-year-old census data—would result in prejudice. This prejudice was caused by

Plaintiffs’ inexcusable delay in waiting until 2018 to file suit. So, the doctrine of laches bars

Plaintiffs’ claim to the extent Plaintiffs seek injunctive relief.

        But, in addition to injunctive relief, Plaintiffs seek declaratory relief. Redistricting

committees sometimes base new redistricting plans on existing plans. The Eleventh Circuit has

held that, while the defendant may be prejudiced by the plaintiff’s delay in bringing a voting

rights claim for injunctive relief, the same prejudice does not apply to a claim for declaratory

relief. See Sanders, 245 F.3d at 1291–92. Finding the current plan unconstitutional—if it is—



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would prevent the committee from reusing the plan as the basis for the 2021 redistricting plan.

See id. at 1291 (noting that declaratory relief in a voting rights case may “prevent the Attorney

General from using the [challenged] plan as a baseline for retrogression analysis in the [new]

census round of preclearance proceedings”). Even if the court were to find that Defendant would

be prejudiced as to injunctive relief, declaratory relief would still be available to Plaintiffs.

        Because Defendant cannot demonstrate prejudice as to Plaintiffs’ claim for declaratory

relief, the doctrine of laches will not bar declaratory relief. So, Plaintiffs’ claim will remain as to

declaratory relief.

    IV. Conclusion

        For the reasons discussed above, the court will GRANT IN PART and DENY IN PART

Defendant John Merrill’s motion for judgment on the pleadings. The court will DENY

Defendant’s motion as to the standing issue. The court will GRANT Defendant’s motion as to

the doctrine of laches issue for injunctive relief. The court will DENY Defendant’s motion as to

the doctrine of laches issue for declaratory relief. The court will enter a separate Order consistent

with this Memorandum Opinion.

        DONE and ORDERED this 27th day of March, 2019.



                                                ____________________________________
                                                KARON OWEN BOWDRE
                                                CHIEF UNITED STATES DISTRICT JUDGE




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